                 Case 1-20-01048-nhl                   Doc 2     Filed 05/08/20          Entered 05/08/20 11:30:19


                                        UNITED STATES BANKRUPTCY COURT
                                             Eastern District of New York
                                        NOTE: All documents filed in this matter must be identified by both
                                     adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Loreen H Williams                                                                       Bankruptcy Case No.: 1−19−46236−nhl

Robert J Musso
                                                                  Plaintiff(s),
−against−                                                                                 Adversary Proceeding No. 1−20−01048−nhl
Loreen H Williams
                                                                 Defendant(s)

                          SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                     United States Bankruptcy Court
                                                     271−C Cadman Plaza East, Suite 1595
                                                     Brooklyn, NY 11201−1800
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                                      Robert J Musso
                                                                      Rosenberg Musso & Weiner LLP
                                                                      26 Court Street
                                                                      Suite 2211
                                                                      Brooklyn, NY 11242

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.


Location:                                                                                            Date and Time:
United States Bankruptcy Court, 271−C Cadman Plaza East, Courtroom                                   July 16, 2020 at 02:30 PM
3577 − 3rd Floor, Brooklyn, NY 11201−1800


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: May 8, 2020                                                 Robert A. Gavin, Jr., Clerk of the Court



Summons [Summons and Notice of Pretrial Conf. rev. 05/27/2016]
